












Affirmed and Memorandum Opinion filed October 14, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00149-CR

NO. 14-09-00150-CR

____________

&nbsp;

JULIO TORRES CORTEZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 338th District Court

Harris County, Texas

Trial Court Cause Nos. 715518 &amp;
715520

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant Julio Torres
Cortez was convicted for twice committing the offense of aggravated sexual
assault of a child.&nbsp; His convictions were affirmed in 1999.&nbsp; See Cortez v.
State, 14-97-00907-CR, 1999 WL 394809 (Tex. App.—Houston [14th Dist.] June
17, 1999, no pet.) (not designated for publication) and Cortez v. State,
14-96-01196-CR (Tex. App.—Houston [14th Dist.] May 27, 1999, pet. ref’d) (not
designated for publication).&nbsp; On January 10, 2007, appellant filed a pro se
motion for post-conviction DNA testing in &nbsp;each case.&nbsp; On December 12, 2008,
the trial court denied appellant’s motions for DNA testing.&nbsp; 

&nbsp;

Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. &nbsp;The brief meets
the requirement of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. &nbsp;See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. Further, we find no
reversible error in the record. &nbsp;We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. &nbsp;See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Brown. 

Do Not Publish — Tex. R. App. P. 47.2(b).





